Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 1 of 7
Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 2 of 7
Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 3 of 7
Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 4 of 7
Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 5 of 7
Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 6 of 7
Case 4:09-cr-00009-MCR-MAF   Document 309   Filed 02/01/11   Page 7 of 7
